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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION


DANA LAMB, and ACCESS NOW, INC.,

                         Plaintiffs,
vs.                                         Case No.    2:05-cv-93-FtM-33DNF


CHARLOTTE   COUNTY,    a   political
subdivision of the State of Florida,

                    Defendant.
______________________________________/

                                    ORDER

      This matter comes before the Court on Defendant Charlotte

County’s Motion for Enlargement of Time (Doc. # 68), which was

filed on May 3, 2006, and Plaintiffs’ Motion for Reconsideration

(Doc. # 69), which was filed on May 4, 2006.

      Defendant seeks an extension of time in which to file a motion

for attorney’s fees and costs, and Plaintiffs seek an order

reconsidering     this    Court’s   April      21,   2006,   Order     granting

Defendant’s     Motion    to   Dismiss   for     Lack   of   Subject     Matter

Jurisdiction (Doc. # 66).

      Upon due consideration, the Court denies both motions.

      I.   Motion for Reconsideration

      Plaintiffs seek an Order of reconsideration, arguing that this

Court’s dismissal of their action was improper due to the “futile

gesture” doctrine.
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      As stated in Florida College of Osteopathic Medicine, Inc. v.

Dean Witter Reynolds, Inc., 12 F. Supp. 2d 1306, 1308 (M.D. Fla.

1998), “A motion for reconsideration must demonstrate why the court

should reconsider its past decision and set forth facts or law of

a strongly convincing nature to induce the court to reverse its

prior decision.”       Further, “in the interests of finality and

conservation of scarce judicial resources, reconsideration is an

extraordinary remedy to be employed sparingly.” Lamar Adver., Inc.

v. City of Lakeland, 189 F.R.D. 480, 489 (M.D. Fla. 1999).

      This     Court    recognizes        three      grounds         to   justify

reconsideration: “(1) an intervening change in controlling law; (2)

the availability of new evidence; and (3) the need to correct clear

error or manifest injustice.” Fla. College of Osteopathic Med.,

Inc., 12 F. Supp. 2d at 1308.        Further, as explained in Ludwig v.

Liberty Mutual Fire Ins. Co., Case No. 8:03-cv-2378-T-17-MAP, 2005

U.S. Dist. LEXIS 37718, at *8 (M.D. Fla. Mar. 30, 2005), “This

Court   will   not   reconsider   its     judgment    when     the    motion   for

reconsideration fails to raise new issues but, instead, relitigates

that which the Court previously found lacking.” Id. at 9-10.                    In

addition, “a motion for reconsideration is not the proper forum for

the party to vent dissatisfaction with the Court’s reasoning.” Id.

at 11 (citation omitted).

      A trial court’s denial of a motion for reconsideration is

reviewed for an abuse of discretion.         O’Neal v. Kennamer, 958 F.2d

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1044, 1047 (11th Cir. 1992).

      In this case, Plaintiffs have failed to demonstrate that there

has been an intervening change in controlling law.                   In addition,

Plaintiffs    have    not    pointed   to   any   new    evidence.       Further,

Plaintiffs have not argued that reconsideration is needed to

correct    clear    error.     Instead,     Plaintiffs        have   rehashed   the

arguments found in their motion for summary judgment and in their

response     to    Defendant’s    motion     to   dismiss.           Specifically,

Plaintiffs assert that they should not be required to engage in the

futile gesture of returning to the allegedly ADA noncompliant

facilities when, as alleged by Plaintiffs, these facilities contain

barriers to access which subject Plaintiffs to further injury.

Plaintiffs    state:    “[The]    Order     ignores     the    ‘futile   gesture’

doctrine by requiring a Plaintiff in a Title II ADA case to

repeatedly subject himself to discrimination in order to establish

standing, despite having actual knowledge of barriers to access,

having already suffered an injury in fact as a result of those

barriers and having a stated interest to return.” (Doc. # 69 at 1).

      This Court considered, and found unpersuasive, Plaintiffs’

argument concerning the futile gesture doctrine.                      Plaintiffs’

motion for reconsideration emphasizes that Plaintiff Lamb has

already suffered an injury in fact because Plaintiff Lamb was

forced to “urinate in the woods” due to Defendant’s alleged failure

to comply with the ADA.          (Doc. # 69 at 2).            This Court reminds

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Plaintiffs that past injury does not carry the day in this case.

Indeed,   if   monetary   damages   for   violations   of   the   ADA   were

available, this case would be in a different posture; however,

Plaintiffs’ remedies are limited to injunctive relief.            As stated

in the Court’s Order of April 21, 2006, in order to have standing

to seek an injunction, Plaintiff must demonstrate a threat of

future injury. This Court’s Order dismissed the case upon finding,

inter alia, that Plaintiff Lamb could not credibly demonstrate a

threat of future injury because Lamb lacked the requisite intent to

return to the facility in question.          As Plaintiff Access Now’s

standing was dependent on Lamb’s standing in this case, the Court

dismissed the action as to Plaintiff Access Now as well.                This

Court named eight of the factors it considered in determining that

Plaintiff Lamb lacked the intent required to maintain standing to

seek injunctive relief:

      (1) Lamb lives approximately one hour and forty five
      minutes (75 miles) away from the property; (2) Lamb’s
      contact with the property has been infrequent; (3) Lamb
      has not been back to the property since filing the
      complaint; (4) there are other libraries and similar
      facilities closer to Lamb’s home, including a library
      located only seven miles from his home; (5) Lamb has no
      connection to the property and no family or friends
      located near the property; (6) Lamb has no immediate or
      concrete plans to return to the property, only a non-
      specific “wish” to return if the property comes into
      compliance; (7) Lamb has filed many similar suits
      throughout a large geographic area; and (8) Lamb has
      evinced a desire to visit each of the many sites sued,
      despite the incredibility of such statements.

(Doc. # 66 at 12).

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      This Court stands behind its April 21, 2006 Order (Doc. # 66)

and DENIES Plaintiffs’ motion for reconsideration (Doc. # 69).1

      II.   Defendant’s Motion for Extension of Time

      Defendant moves for an extension of time in which to file a

motion for fees and costs. Defendant correctly argues that Federal

Rule of Civil Procedure 54 requires such motions to be filed within

14 days of the entry of judgment.        In this case, judgment has not

yet been entered, as Rule 58, Fed. R. Civ. P., requires that

judgment be set out in a separate document.         As Defendant desires

to file its motion by May 15, 2006, and this Court will issue a

judgment on or after May 4, 2006, there is no need for an extension

of time.    Accordingly, Defendant’s motion for an extension of time

(Doc. # 68) is DENIED AS MOOT.      Any motion for fees filed within 14

days of the entry of the judgment in this case will be considered

timely.

      Accordingly, it is

      ORDERED, ADJUDGED, and DECREED:

(1)   Plaintiffs’ Motion for Reconsideration (Doc. # 69) is DENIED.

(2)   The Clerk is directed to enter Judgment for Defendant.



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      It is noted that the Order in question (Doc. # 66) directed
the Clerk to close the case but failed to include an instruction to
the Clerk to enter Judgment. At this time, the Court takes the
opportunity to instruct the Clerk to enter Judgement for Defendant
pursuant to the Court’s Order granting Defendant’s motion to
dismiss (Doc. # 66).


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(3)   Defendant Charlotte County’s Motion for Enlargement of Time

      (Doc. # 68) is DENIED AS MOOT.

      DONE and ORDERED in Chambers in Fort Myers, Florida, this 4th

day of May 2006.




Copies:
All Counsel of Record




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